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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                                                            SAN JOSE DIVISION
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                                  12     NATIONAL URBAN LEAGUE, et al.,                    Case No. 20-CV-05799-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiffs,                         ORDER COMPELLING
                                                                                           DEFENDANTS’ RESPONSE
                                  14             v.

                                  15     WILBUR L. ROSS, et al.,
                                  16                   Defendants.

                                  17
                                  18          The below email was sent to the Court’s proposed order inbox. The Court reminds all

                                  19   parties and interested parties who wish to communicate with the Court that any such

                                  20   communications shall be made in filings on the Court’s docket. The Court orders Defendants to

                                  21   respond to this email by Tuesday, October 6, 2020 at noon Pacific Time.

                                  22   IT IS SO ORDERED.

                                  23
                                  24   Dated: October 5, 2020

                                  25                                                  ______________________________________
                                                                                      LUCY H. KOH
                                  26                                                  United States District Judge
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                                       Case No. 20-CV-05799-LHK
                                       ORDER COMPELLING DEFENDANTS’ RESPONSE
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